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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF CALIFORNIA
                 THE HONORABLE MORRISON C. ENGLAND, JR.




UNITED STATES OF AMERICA,                           Case No. 2:17-cr-00126-MCE

              Plaintiff,

      v.                                            ORDER FOR RELEASE OF
                                                    PERSON IN CUSTODY
SAMANTHA SAMPSON,

           Defendant.
______________________________/

TO: THE UNITED STATES MARSHAL SERVICE

This is to authorize and direct you to release SAMANTHA SAMPSON in case number
2:17-cr-00126-MCE, from custody for the following reason(s):

           Release on Personal Recognizance
           Bail Posted in the Sum of $
           Unsecured Appearance Bond
           Appearance Bond with 10% Deposit
           Appearance Bond with Surety
           Corporate Surety Bail Bond
  X        Other: Pursuant to the Court’s sentence of TIME SERVED.


Issued at Sacramento, California on December 3, 2020 at 10:28 a.m.

Dated: December 4, 2020
